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IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

 

X

In re: : Chapter 11

REMINGTON OUTDOOR COMPANY, INC., et : Case No. 18-10684 (BLS)

a | (Jointly Administered)
Debtors.

 

x

ORDER (A) APPROVING SOLICITATION PROCEDURES, (B) APPROVING
ADEQUACY OF DISCLOSURE STATEMENT, AND (C) CONFIRMING PLAN

Remington Outdoor Company, Inc. and its affiliated debtors, as debtors and debtors-in-
possession (collectively, the “Debtors”) in the above-captioned chapter 11 cases having proposed
the First Amended Joint Prepackaged Chapter 11 Plan of Remington Outdoor Company, Inc.
and Its Affiliated Debtors and Debtors in Possession (Technical Modifications), dated April 30,
2018 [Docket No. 221] (as amended, supplemented, restated, or modified through the date
hereof, and together with the Plan Supplement (defined below), the “Plan”);* and upon
consideration of:

a. Debtors’ Motion For Entry of (1) Order (A) Scheduling Combined Hearing on

Adequacy of Disclosure Statement and Confirmation of Plan, (B) Approving
Form and Manner of Notice of Combined Hearing and Commencement of
Chapter 11 Cases, (C) Approving Solicitation of Non-Accredited Holders, (D)
Establishing Procedures For Objecting to Disclosure Statement or Plan, (E)

Conditionally Waiving Requirement to File Statements and Schedules, and (F)
Directing that a Meeting of Creditors Not Be Convened, and (II) Order (A)

 

The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
number, as applicable, are: Remington Outdoor Company, Inc. (4491); FGI Holding Company, LLC (9899);
FGI Operating Company, LLC (9774); Remington Arms Company, LLC (0935); Barnes Bullets, LLC (8510);
TMRI, Inc. (3522); RA Brands, L.L.C. (1477); FGI Finance, Inc. (0109); Remington Arms Distribution
Company, LLC (4655); Huntsville Holdings LLC (3525); 32E Productions, LLC (2381); Great Outdoors
Holdco, LLC (7744); and Outdoor Services, LLC (2405). The principal offices of Debtor Remington Outdoor
Company, Inc., the top-level holding company, are located at 870 Remington Drive, Madison, NC 27025.

The Plan is attached as Exhibit A hereto.

 
 

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Approving Prepetition Solicitation Procedures, (B) Approving Adequacy of
Disclosure Statement, and (C) Confirming Plan [Docket No. 12] (the “Motion”),
with respect to which the Court has entered the Order (A) Scheduling Combined
Hearing on Adequacy of Disclosure Statement and Confirmation of Plan, (B)
Approving Form and Manner of Notice of Combined Hearing and
Commencement of Chapter 11 Cases, (C) Establishing Procedures For Objecting
to Disclosure Statement or Plan, (D) Conditionally Waiving Requirement to File
Statements and Schedules, and (E) Directing that a Meeting of Creditors Not Be
Convened [Docket No. 64] (the “Scheduling Order”);

 

b. Disclosure Statement for Joint Prepackaged Chapter 11 Plan of Remington
Outdoor Company, Inc. and Its Affiliated Debtors and Debtors in Possession,
dated March 22, 2018 [Docket No. 14] (as amended, supplemented, restated, or
modified through the date hereof, the “Disclosure Statement”);*

c. the Plan, including Notice of Filing First Amended Joint Prepackaged Chapter 11
Plan of Remington Outdoor Company, Inc. and Its Affiliated Debtors and Debtors
in Possession (Technical Modifications) [Docket No. 221];

d. Notice of Filing of Plan Supplement Pursuant to Joint Prepackaged Chapter 11
Plan of Remington Outdoor Company, Inc. and Its Affiliated Debtors and Debtors
in Possession [Docket No. 186] (the “Initial Plan Supplement’); and

e. Notice of Filing of First Amended Plan Supplement Pursuant to Joint
Prepackaged Chapter 11 Plan of Remington Outdoor Company, Inc. and its
Affiliated Debtors and Debtors in Possession [Docket No. 194] (the “First
Amended Plan Supplement”; together with the Initial Plan Supplement, the “Plan

Supplement”);

 

and upon consideration of (collectively, the “Declarations”):

f. Declaration of Steven P. Jackson, Jr. in Support of Chapter 11 Petitions and First
Day Pleadings of Remington Outdoor Company, Inc. and Its Affiliated Debtors
and Debtors in Possession [Docket No. 7] (the “First Day Declaration”);

g. Declaration of Joseph J. Sciametta in Support of Confirmation of the Joint
Prepackaged Chapter 11 Plan of Remington Outdoor Company, Inc. and its
Affiliated Debtors and Debtors in Possession [Docket No. 223] (the “Sciametta
Declaration”);

h. Declaration of Ari N. Lefkovits in Support of Confirmation of the Joint
Prepackaged Chapter 11 Plan of Remington Outdoor Company, Inc. and its

 

Capitalized terms used but not otherwise defined herein shall have the meanings ascribed to them in the Plan.
Any reference in the Plan to “Remington Entities”, “Remington Entity”, “Reorganized Remington” or
“Reorganized Remington entity”, as applicable, shall have the same meaning as “Debtors”, “Debtor”,
“Reorganized Debtors” or “Reorganized Debtor”, as applicable, as such terms are used herein.

 
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Affiliated Debtors and Debtors in Possession [Docket No. 224] (the “Lefkovits
Declaration”) and

i. Declaration of James Daloia of Prime Clerk LLC Regarding the Solicitation of
Votes and Tabulation of Ballots Cast on the Joint Prepackaged Chapter 11 Plan of
Remington Outdoor Company, Inc. and Its Affiliated Debtors and Debtors in
Possession [Docket No. 220] (the “Tabulation Declaration”).

and the Court having reviewed all other filed pleadings, exhibits, statements, and comments
regarding the Debtors’ request for entry of an order (this “Confirmation Order’) (i) approving the
Debtors’ prepetition and postpetition solicitation procedures, (ii) approving the adequacy of the
Disclosure Statement, and (iii) confirming the Plan; and the Court having scheduled, pursuant to
the Scheduling Order, May 2, 2018 at 1:00 p.m. (prevailing Eastern Time) as the date and time to
commence a hearing (the “Combined Hearing”) to consider the proposed entry of this
Confirmation Order; and the Combined Hearing having been held before the Court; and it
appearing to the Court that notice of the Combined Hearing and the opportunity for any party in
interest to object to the proposed entry of this Confirmation Order have been adequate and
appropriate and no other notice need be provided, as evidenced by (collectively, the
“A ffidavits”):

a. Affidavit of Service of Solicitation Materials [Docket No. 50] (the “Solicitation
Affidavit”), sworn to March 26, 2018, by James Daloia, an employee of Prime
Clerk LLC (“Prime Clerk’), relating to service of the Disclosure Statement
(including, as an exhibit, the Plan), a letter of transmittal from the Debtors,
appropriate ballots for holders to accept or reject the Plan (the “Ballots”), and a
return envelope (collectively, the “Solicitation Package”) on March 22, 2018;

b. Affidavit of Service [Docket No. 49], sworn to March 26, 2018, by Kadeem
Champagnie, an employee of Prime Clerk, relating to service of the Notice of
Hearing on First Day Motions [Docket No. 27] on March 26, 2018;

c. Affidavit of Service [Docket No. 115], sworn to April 2, 2018, by Craig Kaufman,
an employee of Prime Clerk, relating to service of the (i) Notice of Bankruptcy
Court Approval to Solicit Non-Accredited Holders [Docket No. 84] (the “Non-
Accredited Holder Notice”) on March 28, 2018, and (ii) Notice of Chapter I1
Bankruptcy Cases; Notice of Deadlines to Object to (I) Adequacy of Disclosure
Statement and (II) Plan Confirmation; Notice of Hearing on Disclosure Statement

 
 

 

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and Plan Confirmation; and Summary of Plan of Reorganization [Docket No. 83]
(the “Combined Notice”) on March 28, 201 8;

d. Affidavit of Publication [Docket No. 120], sworn to April 3, 2018, by Calvin C.
Liu, an employee of Prime Clerk, relating to publication of the Combined Notice
on April 2, 2018;
and based upon and after full consideration of the entire record of the Combined Hearing,
including (i) all statements, arguments, and objections made by counsel regarding the proposed
entry of this Confirmation Order at or in connection with the Combined Hearing, and (ii) all oral
representations, testimony, documents, filings, and other evidence proffered, adduced, or
presented regarding the proposed entry of this Confirmation Order at or in connection with the
Combined Hearing including, but not limited to, the Declarations; and the Court having ruled on
any and all objections, statements, and reservations of rights not consensually resolved or
withdrawn regarding the Plan, Disclosure Statement, Motion, and proposed entry of this
Confirmation Order, unless otherwise indicated herein; and the Court being fully familiar with,
and taking judicial notice of, the entire record of these chapter 11 cases; and it appearing to the
Court that the legal and factual bases set forth in the documents filed in support of the proposed
entry of this Confirmation Order and presented at the Combined Hearing, including the
Declarations and Affidavits, establish just cause for the relief granted herein; and after due
deliberation thereon and good cause appearing therefor,

IT IS HEREBY DETERMINED, FOUND, ADJ UDGED, AND DECREED THAT:

Findings of Fact and Conclusions of Law‘

A. Jurisdiction and Venue. The Court has jurisdiction over this matter pursuant

to 28 U.S.C. §§ 157 and 1334. Approval of the Solicitation Procedures (as defined below),

 

* To the extent any of the following findings of fact constitute conclusions of law, they are adopted as such. To

the extent any of the following conclusions of law constitute findings of fact, they are adopted as such.
 

 

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approval of the adequacy of the Disclosure Statement, and confirmation of the Plan are core
proceedings pursuant to 28 U.S.C. § 157(b), and the Court may enter a final order consistent with
Article III of the United States Constitution. Venue is proper pursuant to 28 U.S.C. §§ 1408
and 1409.

B. Chapter 11 Petitions. On the Petition Date, each Debtor filed a voluntary
petition for relief under chapter 11 of the Bankruptcy Code, commencing in the Court these
chapter 11 cases. The Court has ordered the joint administration of these chapter 11 cases for
procedural purposes only pursuant to Bankruptcy Rule 1015(b). Each Debtor is an eligible
debtor under section 109 of the Bankruptcy Code. Since the Petition Date, each Debtor has
remained authorized to operate its business and manage its properties as a debtor in possession
pursuant to sections 1107(a) and 1108 of the Bankruptcy Code. No trustee or examiner has been
appointed in these chapter 11 cases pursuant to section 1104 of the Bankruptcy Code. On April
9, 2018, the Office of the United States Trustee appointed an official committee of unsecured
creditors for these Chapter 11 Cases (the “Committee”) [Docket No. 127]. No statutory
committee of equity security holders has been appointed pursuant to section 1102 of the
Bankruptcy Code. The Debtors timely requested an extension for filing their schedules and
statements of financial affairs, which extension was approved by the Scheduling Order.

C. Filing of Plan and Disclosure Statement. On March 25, 2018, the Debtors filed
(i) the Joint Prepackaged Chapter 11 Plan of Remington Outdoor Company, Inc. and Its
Affiliated Debtors and Debtors in Possession, dated March 22, 2018 [Docket No. 13] and (ii) the
Disclosure Statement. On April 18, 2018, the Debtors filed the Plan Supplement. On April 20,

2018, the Debtors filed the First Amended Plan Supplement. On April 30, 2018, the Debtors
 

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filed the amended Plan reflecting certain technical modifications addressing both formal and
informal comments received from various parties in interest.

D. Judicial Notice and Objections. The Court takes judicial notice of (and deems
admitted into evidence for entry of this Confirmation Order) the docket of these chapter 11 cases
maintained by the Clerk of Court, including all pleadings and other documents filed, all orders
entered, and all evidence and arguments made, proffered, or adduced at the hearings held before
the Court during the pendency of these chapter 11 cases. Any resolutions of objections to entry
of this Confirmation Order explained on the record at the Combined Hearing are hereby
incorporated by reference. The objections of the U.S. Trustee and the SEC are sustained in part,
and overruled in part, as set forth on the record at the hearing on May 2, 2018. All other
unresolved objections, statements, and reservations of rights are overruled on the merits.

E. Burden of Proof. The Debtors have the burden of proving the elements of
section 1129 of the Bankruptcy Code by a preponderance of the evidence. As demonstrated by,
among other things, the Declarations and Affidavits, the Debtors have met such burden.

F. Notice. The transmittal and service of the Solicitation Package prior to the
Petition Date, and the Combined Notice and Non-Accredited Holder Notice after the Petition
Date, were adequate and sufficient under the circumstances, and all parties required to be given
notice of the Combined Hearing (including the deadline for filing and serving objections to the
Plan, Disclosure Statement, Motion, or proposed entry of this Confirmation Order) have been
given due, proper, timely, and adequate notice in accordance with the Scheduling Order and in
compliance with the Bankruptcy Code, the Bankruptcy Rules, the Local Rules, and any
applicable non-bankruptcy law, rule, and regulation, and such parties have had an opportunity to

appear and be heard with respect thereto. No other or further notice is required.
 

 

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G. Solicitation Procedures. The Debtors’ procedures for soliciting votes to accept
or reject the Plan (the “Solicitation Procedures”), as set forth in the Solicitation Package, the
Non-Accredited Holder Notice, and described in the Motion and Tabulation Declaration, were
appropriate and satisfactory based upon the circumstances and in compliance with the provisions
of the Bankruptcy Code, including sections 1125 and 1126 thereof, the Bankruptcy Rules,
including Bankruptcy Rules 3017 and 3018, the Local Rules, and any other applicable rules,
laws, and regulations. In particular and without limitation, as detailed below, (1) the Solicitation
Package and the Non-Accredited Holder Notice were transmitted to all holders of Claims and
Interests entitled to vote on the Plan and were not required to be transmitted to any other holders
of Claims and Interests, (2) the Ballots included in the Solicitation Package adequately addressed
the particular needs of these chapter 11 cases, (3) holders of Claims and Interests, including any
non-Accredited Holders of Term Loan Claims or Third Lien Notes Claims, entitled to vote on the
Plan were prescribed sufficient and reasonable time and notice to submit Ballots, and (4) votes
were tabulated fairly, in good faith, and as set forth in the Solicitation Package and the
Tabulation Declaration.

(i) Transmission of Solicitation Packages. As evidenced by the Solicitation

Affidavit and Tabulation Declaration, the Debtors only solicited votes to
accept or reject the Plan from holders of Allowed Claims in Class 4 and
Class 5 (collectively, the “Voting Classes”). All Classes other than the
Voting Classes (collectively, the “Non-Voting Classes”) are either (a)
Unimpaired and, pursuant to section 1126(f) of the Bankruptcy Code,
conclusively presumed to have accepted the Plan, or (b) Impaired and,
pursuant to section 1126(g) of the Bankruptcy Code, deemed to have
rejected the Plan. The Debtors therefore were not required to solicit votes
on the Plan from holders in Class 1 (Priority Non-Tax Claims), Class 2
(Other Secured Claims), Class 3 (ABL Facility Claims), Class 6 (General
Unsecured Claims), Class 7 (Intercompany Claims), Class 8 (Settled

Intercompany Claims), Class 9 (Interests in ROC), or Class 10
(Intercompany Interests).

On March 22, 2018, the Solicitation Packages (including the Plan) were
distributed to all holders of record of the Claims in the Voting Classes.
 

 

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Holders of record were determined as of the date specified in the
Solicitation Package for such purpose, March 19, 2018 (the “Voting
Record Date”), the selection of which was appropriate and reasonable
under the circumstances. Transmission of the Solicitation Package to
holders of Claims and Interests in the Voting Classes was timely,
adequate, and sufficient under the circumstances, and no further
transmission of the Solicitation Package was required.

On March 27, 2018, the Debtors obtained the Court’s approval to solicit
votes on the Plan from all beneficial holders of Claims in the Voting
Classes who were not “accredited investors” (an “Accredited Investor’) as
defined in Rule 501 of the Securities Act of 1933, as amended (the
“Securities Act”). The Non-Accredited Holder Notice, and the solicitation
of holders who were not Accredited Investors, was timely, adequate, and
sufficient under the circumstances (see Affidavit of Service [Docket No.
115)).

(ii) Ballots. The Ballots, forms of which are attached as an exhibit to the
Motion, adequately conform to Official Form No. 14, and the
modifications thereto addressed the particular needs of these chapter 11
cases and were appropriate for the holders of Claims and Interests entitled
to vote to accept or reject the Plan. As evidenced by the Tabulation
Declaration, the Ballots included in the tabulation results for the Plan were
in form consistent with the requirements of Bankruptcy Rule 3018(c).

(iii) Voting Deadline. Establishment and notice of the deadline by which
Ballots were required to be received by Prime Clerk in order to be counted
for or against the Plan (the “Voting Deadline”) was appropriate and
reasonable under the circumstances. The period during which the Debtors
solicited acceptances to the Plan was a reasonable period of time for the
holders of Claims and Interests entitled to vote on the Plan to make an
informed decision to accept or reject the Plan.

(iv) Vote Tabulation. As evidenced by the Tabulation Declaration, Prime
Clerk adhered to a tabulation protocol set forth in the Solicitation
Packages (including in the instructions in the Ballots), which protocol was
appropriate and reasonable under the circumstances. In particular, the
tabulation results for the Plan only included those timely Ballots that were
properly completed and executed by the holder of record of the relevant
Claim or Interest (or such holder’s authorized representative) as of the
Voting Record Date. Votes to accept or reject the Plan were tabulated
fairly and in good faith.

Accordingly, the Solicitation Procedures are approved in all respects, and the acceptances of the

Plan obtained in accordance with the Solicitation Procedures, both prior to and subsequent to the
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Petition Date, satisfy the applicable requirements set forth in Bankruptcy Rule 3018 for such
acceptances to be deemed to be acceptances of the Plan pursuant to section 1125 and 1126 of the
Bankruptcy Code, as applicable.

H. Adequacy of Disclosure Statement. Based on the circumstances of these
chapter 1] cases and the extensive and comprehensive nature of the Disclosure Statement, which
included descriptions and summaries of, among other things, (1) the Plan, (2) certain events
preceding the commencement of these chapter 11 cases, (3) securities to be issued under the
Plan, (4) the Restructuring Support Agreement, (5) risk factors affecting the Plan, (6) an analysis
setting forth the estimated return that creditors would receive in a chapter 7 liquidation,
(7) financial projections and a valuation analysis that would be relevant to holders of Claims in
determining whether to accept or reject the Plan, and (8) certain federal tax law consequences of
the Plan, the adequacy of the Disclosure Statement is approved in all respects.” The Disclosure
Statement contains (1) sufficient information of a kind to satisfy the disclosure requirements of
all applicable non-bankruptcy law, rules, and regulations, including the Securities Act, and
(2) “adequate information,” as such term is defined in section 1125(a) of the Bankruptcy Code,
with respect to the Debtors, the Plan, and the transactions contemplated therein. Accordingly,
the Disclosure Statement complies with section 1126(b) of the Bankruptcy Code for purposes of
subsections (c) and (d) of section 1126 of the Bankruptcy Code. By filing both the Disclosure
Statement and the Plan on the Petition Date, the Debtors have satisfied the filing requirement in
Bankruptcy Rule 3016(b).

I. Plan Supplement. All materials in the Plan Supplement comply with the terms

of the Plan, and the filing and notice of such documents is good and proper in accordance with

 

> Asa matter of clarification, the Disclosure Statement in certain instances referred to the Huntsville Note as the

“Huntsville Third Lien Note,” which instead should have been the “Huntsville First Lien Note.”

 

 
 

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the Bankruptcy Code, Bankruptcy Rules, and Local Rules, and no other or further notice is or
shall be required. All exhibits and documents included in the Plan Supplement are incorporated
into and are a part of the Plan as if set forth in full in the Plan. The rights of the Debtors are
reserved, subject to the consent rights set forth in the Plan, to further amend, update, or modify
the Plan Supplement prior to the Effective Date subject to the terms of this Confirmation Order.
J. Solicitation in Good Faith. The Debtors have solicited votes to accept or reject
the Plan in good faith and in compliance with the Bankruptcy Code. Pursuant to section 1125(e)
of the Bankruptcy Code, the Debtors and their respective affiliates, agents, representatives,
members, principals, shareholders, officers, directors, employees, advisors, and attorneys have
participated in good faith and in compliance with the Bankruptcy Code in the offer, issuance,
sale, and purchase of securities offered and sold under the Plan and any prior version thereof,
and, therefore, none of any such parties or individuals or the Reorganized Debtors will have any
liability for the violation of any applicable law, rule or regulation governing the solicitation of
votes on the Plan or the offer, issuance, sale, or purchase of the securities offered and sold under
the Plan and any prior version thereof.
K. Plan’s Compliance with Bankruptcy Code (11 U.S.C. § 1129(a)(1)). As
detailed below, the Plan complies with the applicable provisions of the Bankruptcy Code,
thereby satisfying section 1129(a)(1) of the Bankruptcy Code.
(i) Plan Proponents (11 U.S.C. § 1121 (aj). The Debtors are proper plan
proponents under section 1121(a) of the Bankruptcy Code. In addition,
the Plan is dated and identifies the Debtors as proponents, thereby
satisfying Bankruptcy Rule 301 6(a).

(ii) = Proper Classification (11 U.S.C. $§ 1122 and 1123(a)(1)). Except with
respect to Administrative Expenses, ABL DIP Claims, Term DIP Claims,
ROC DIP Claims, and Priority Tax Claims, which need not be classified,
Article II of the Plan classifies all Claims and Interests into ten Classes.

Because the Plan constitutes a separate chapter 11 plan with respect to
each Debtor, Article III of the Plan also provides that, while the Claims or

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(iii)

(iv)

(Vv)

(vi)

(vii)

(viii)

 

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Interests in a particular Class have been placed in one Class for the
purposes of nomenclature, the Claims and Interests against each applicable
Debtor shall be treated as being in a separate sub-Class for the purpose of
receiving distributions under the Plan. Each Claim and Interest is
substantially similar to all other Claims or Interests, as the case may be,
that have been placed into the same Class as such Claim or Interest. Valid
business, factual, and legal reasons exist for separately classifying the
various Classes of Claims and Interests created under the Plan, including
by each Debtor, and such Classes do not unfairly discriminate among the
holders of Claims and Interests. The Plan therefore satisfies sections 1122
and 1123(a)(1) of the Bankruptcy Code.

Unimpaired Classes (11 U.S.C. § 1123(a)(2)). Article III of the Plan
specifies each Class that is Unimpaired under the Plan within the meaning
of section1!124 of the Bankruptcy Code, thereby © satisfying
section 1123(a)(2) of the Bankruptcy Code.

Treatment of Impaired Classes (11 U.S.C. § 1123(a)(3)). Article III of the
Plan specifies the treatment of all Classes that are Impaired under the Plan
within the meaning of section 1124 of the Bankruptcy Code, thereby
satisfying section 1123(a)(3) of the Bankruptcy Code.

Same Treatment Within Classes (11 U.S.C. § 1123(a)(4)). Article IIL of
the Plan provides for the same treatment of each Claim or Interest in a
particular Class, unless the holder of a particular Claim or Interest agrees
to a less favorable treatment of such Claim or Interest, thereby satisfying
section 1123(a)(4) of the Bankruptcy Code.

Implementation of Plan (11 U.S.C. § 1123(a)(5)). Article V and other
provisions of the Plan specifically provide, in detail, adequate and proper
means for the Plan’s implementation. On the Effective Date, Reorganized
ROC will issue and distribute the New Common Units and New Warrants,
and Reorganized OpCo will fund other distributions required under the
Plan with Cash on hand, including Cash from operations and any Cash
received on the Effective Date, and borrowings under the Term/ROC DIP
Facility, the ABL DIP Facility, the New ABL Facility, and the New Term
Loan Facility, as applicable. In addition, cash on hand at Reorganized
ROC will be used to pay the Third Lien Noteholder Cash Distribution.
Accordingly, the Plan satisfies section 1123(a)(5) of the Bankruptcy Code.

Charter Provisions (11 U.S.C. § 1123(a)(6)). The New Organizational
Documents, filed as part of the Plan Supplement, prohibit the issuance of
nonvoting equity securities, thereby satisfying section 1123(a)(6) of the
Bankruptcy Code.

Designation of Directors and Officers (11 U.S.C. § 1123(a)(7)). Article
V.I. of the Plan and the New Organizational Documents, filed as part of

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the Plan Supplement, contain provisions with respect to the selection of
the Reorganized Debtors’ directors and officers that are consistent with the
interests of creditors and equity security holders and with public policy.
The Plan does not contain any provisions with respect to the selection of
the Reorganized Debtors’ directors and officers that are inconsistent with
the interests of creditors and equity security holders or with public policy,
thereby satisfying section 1123(a)(7) of the Bankruptcy Code.

(ix) No Individual Debtor — Requirement Inapplicable (11 U.S.C. §
1123(a)(8)). None of the Debtors is an individual, and section 1123(a)(8)
of the Bankruptcy Code is therefore inapplicable to the Plan.

(x) Impairment/Unimpairment of Classes (11 U.S.C. § 1 123(b)(1)).
Article IIT of the Plan impairs the Classes 4, 5, 8 and 9, and leaves
unimpaired Classes 1, 2, 3, 6, 7, and 10, as contemplated by
section 1123(b)(1) of the Bankruptcy Code.

(xi) Assumption and Rejection (11 U.S.C. § 1123(b)(2)). Article VILA of the
Plan provides for the assumption and rejection of Executory Contracts and
Unexpired Leases in accordance with section 365 of the Bankruptcy Code,
as contemplated by section 1123(b)(2) of the Bankruptcy Code.

(xii) Settlement of Claims and Interests (11 U.S.C. & I 123(b)(3)). The Plan
provides for certain settlements of the Debtors’ claims and interests,
including through the releases, exculpation, and injunction pursuant to
Article IX of the Plan and through a Litigation Settlement, if applicable.
The Plan also provides for the retention and enforcement by the Litigation
Trust, if one is established, of certain of the Debtors’ claims and interests,
as contemplated by section 1123(b)(3) of the Bankruptcy Code.

(xiii) Additional Provisions (11 U.S.C. § 1123(b)(6)). The Plan contains other
appropriate provisions that are not inconsistent with the applicable
provisions of the Bankruptcy Code, as contemplated by section 1123(b)(6)
of the Bankruptcy Code.

L. Plan Proponents’ Compliance with Bankruptcy Code (11 U.S.C. §
1129(a)(2)). As detailed below, the Debtors have complied with the applicable provisions of the
Bankruptcy Code, thereby satisfying section 1129(a)(2) of the Bankruptcy Code:

(i) Each Debtor is eligible under section 109 of the Bankruptcy Code to be a
debtor in these chapter 11 cases;

(ii) The Debtors have complied with the applicable provisions of the

Bankruptcy Code, including sections 1125 and 1126, the Bankruptcy
Rules, including Bankruptcy Rules 3017 and 3018, the Local Rules, the

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Scheduling Order, and any applicable non-bankruptcy law, rule, and
regulation in transmitting the Plan, Plan Supplement, Disclosure
Statement, Non-Accredited Holder Notice, Ballots, and related documents
and notices and in soliciting and tabulating the votes on the Plan; and

(iii) | The Debtors have complied in all other respects with any applicable
provisions of the Bankruptcy Code, except as otherwise provided or
permitted by orders of the Bankruptcy Court.

M. Plan Proposed in Good Faith (11 U.S.C. § 1129(a)(3)). The Debtors have
proposed the Plan (including all documents necessary to effectuate the Plan) and the transactions
contemplated in the Plan in good faith and not by any means forbidden by law. The Debtors’
good faith is evident from the facts and record of these chapter 11 cases, the Disclosure
Statement, the record of the Combined Hearing and other proceedings held in these chapter 11
cases, and the overwhelming support indicated by substantially all creditors who voted on the
Plan voting to accept the Plan. The Plan was proposed with the legitimate and honest purpose of
maximizing the value of the Estates and to effectuate a successful and efficient reorganization of
the Debtors. The Plan (including all documents necessary to effectuate the Plan) was negotiated
at arm’s length among the Debtors, the Consenting Creditors, the ABL Parties, and each of their
respective professionals. Further, the Plan’s classification, indemnification, exculpation, release,
and injunction provisions have been negotiated in good faith and at arm’s-length, are consistent
with sections 105, 1122, 1123, 1129, and 1142 of the Bankruptcy Code and are each necessary
for the Debtors’ successful reorganization. Accordingly, the Plan satisfies section 1129(a)(3) of
the Bankruptcy Code.

N. Payment for Services or Costs and Expenses (11 U.S.C. § 1129(a)(4)). Any
payment made or to be made by the Debtors or by a person issuing securities or acquiring
property under the Plan for services or for costs and expenses of the Debtors’ professionals in

connection with these chapter 11 cases, or in connection with the Plan and incident to the

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chapter 11 cases, has been approved by, or is subject to the approval of, the Court as reasonable,
thereby satisfying section 1129(a)(4) of the Bankruptcy Code.

oO. Directors, Officers, and Insiders (11 U.S.C. § 1129(a)(5)). The identity and
affiliations of any individual proposed to serve as a director or officer of the Reorganized
Debtors and the identity and nature of any compensation of any insider that will be employed or
retained by the Reorganized Debtors have been fully disclosed in the Disclosure Statement, Plan,
and Plan Supplement, to the extent available, and the appointment to, or continuance in, such
offices of such individuals is consistent with the interests of holders of Claims and Interests and
with public policy. Each such individual will serve in accordance with the terms and subject to
the conditions of the New Organizational Documents and any other relevant organizational
documents, each as applicable. Accordingly, the Debtors have complied with section 1129(a)(5)
of the Bankruptcy Code.

P. No Rate Changes — Requirement Inapplicable (11 U.S.C. § 1129(a)(6)). The
Plan does not provide for any rate changes by the Debtors, and section 1129(a)(6) of the
Bankruptcy Code is therefore inapplicable to the Plan.

Q. Best Interest of Creditors (11 U.S.C. § 1129(a)(7)). The liquidation analysis
attached to the Disclosure Statement and other evidence submitted, proffered, or adduced in
support of the Plan at or in connection with the Combined Hearing (1) is persuasive and credible,
(2) has not been controverted by other persuasive and credible evidence, (3) employs reasonable
methodologies and assumptions, and (4) establishes that each holder of an Impaired Claim or
Interest will receive or retain property under the Plan, on account of such Impaired Claim or

Interest, with a value as of the Effective Date that is not less than the amount that such holder

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would receive or retain if the Debtors were liquidated under chapter 7 of the Bankruptcy Code on
such date. Accordingly, the Plan satisfies section 1129(a)(7) of the Bankruptcy Code.

R. Acceptance by Certain Classes (11 U.S.C. § 1129(a)(8)). The Plan does not
satisfy the requirements of section 1129(a)(8) of the Bankruptcy Code. Classes 1, 2, 3, 6, 7, and
10 constitute Unimpaired Classes, each of which is conclusively presumed to have accepted the
Plan in accordance with section 1126(f) of the Bankruptcy Code. The Voting Classes have voted
to accept the Plan. However, holders of Claims or Interests in Classes 8 and 9 (the “Deemed
Rejecting Classes”), if any, receive no recovery on account of their Claims or Interests pursuant
to the Plan and are deemed to have rejected the Plan. Notwithstanding the foregoing, the Plan is
confirmable because it satisfies sections 1129(a)(10) and 1129(b) of the Bankruptcy Code.

S. Treatment of Administrative Expenses, DIP Claims, and Priority Claims (11
U.S.C. § 1129(a)(9)). The treatment of Administrative Expenses, ABL DIP Claims, Term DIP
Claims, ROC DIP Claims, and Priority Tax Claims under Article II of the Plan satisfies the
requirements of, and complies in all respects with, section 1129(a)(9) of the Bankruptcy Code.

T. Acceptance by Impaired Class of Claims (11 U.S.C. § 1129(a)(10)). Three
Classes of Claims are Impaired under the Plan. As evidenced by the Tabulation Declaration, two
Impaired Classes of Claims — Class 4 (Term Loan Claims) and Class 5 (Third Lien Notes
Claims) — have voted to accept the Plan in accordance with section 1126(c) of the Bankruptcy
Code, determined without including any acceptance of the Plan by any “insider,” as that term is
defined in section 101(31) of the Bankruptcy Code, thereby satisfying the requirements of
section 1129(a)(10) of the Bankruptcy Code.

U. Feasibility (11 U.S.C. § 1129(a)(11)). The projected financial results attached to

the Disclosure Statement and other evidence submitted, proffered, or adduced in support of the

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Plan at or in connection with the Combined Hearing (1) are persuasive and credible, (2) have not
been controverted by other persuasive and credible evidence, (3) employ reasonable
methodologies and assumptions, and (4) establish that the Plan is feasible and that there is a
reasonable prospect of the Reorganized Debtors being able to meet their financial obligations
under the Plan and in their businesses in the ordinary course and that confirmation of the Plan is
not likely to be followed by the liquidation or the need for further financial reorganization of the
Reorganized Debtors, thereby satisfying the requirements of section 1129(a)(11) of the
Bankruptcy Code.

Vv. Payment of Fees (11 U.S.C. § 1129(a)(12)). Articles IIA and XIII.C of the Plan
provide for the payment on the Effective Date of all General Administrative Expenses, including
all fees and charges assessed against the Estates pursuant to chapter 123 of title 28 of the United
States Code, which includes section 1930 thereof, that are then due and owing, to the extent not
already paid during these chapter 11 cases, thereby satisfying the requirements of
section 1129(a)(12) of the Bankruptcy Code.

W. No Retiree Benefits — Requirement Inapplicable (11 U.S.C. § 1129(a)(13)).
The Debtors do not provide or pay any “retiree benefits,” as such term is defined in section 1114
of the Bankruptcy Code, and section 1129(a)(13) of the Bankruptcy Code is therefore
inapplicable to the Plan.

X. No Domestic Support Obligations — Requirement Inapplicable (11 U.S.C. §
1129(a)(14)). The Debtors are not required by a judicial or administrative order, or by statute, to
pay any domestic support obligation, and section 1129(a)(14) of the Bankruptcy Code is

therefore inapplicable to the Plan.

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Y. No Individual Debtor — Requirement Inapplicable (11 U.S.C. § 1129(a)(15)).
None of the Debtors is an individual, and section 1129(a)(15) of the Bankruptcy Code is
therefore inapplicable to the Plan.

Z. No Applicable Nonbankruptcy Law Regarding Transfers — Requirement
Inapplicable (11 U.S.C. § 1129(a)(16)). Each of the Debtors is a moneyed, business, or
commercial corporation or trust, and section 1129(a)(16) of the Bankruptcy Code is therefore
inapplicable to the Plan.

AA. “Cram Down” Requirements (11 U.S.C. § 1129(b)). The Plan satisfies the
requirements of section 1129(b) of the Bankruptcy Code. Notwithstanding the fact that the
Deemed Rejecting Classes (Class 8 (Settled Intercompany Claims) and Class 9 (Interests in
ROC)) have been deemed to reject the Plan, the Plan may be confirmed pursuant to section
1129(b)q) of the Bankruptcy Code. First, all of the requirements of section 1129(a) of the
Bankruptcy Code other than section 1129(a)(8) have been met. Second, the Plan is fair and
equitable with respect to the Deemed Rejecting Classes. The Plan has been proposed in good
faith, is reasonable and meets the requirements that no holder of any Claim or Interest that is
Junior to each Deemed Rejecting Class will receive or retain any property under the Plan on
account of such junior Claim or Interest and no holder of a Claim in a Class senior to such
Classes is receiving more than 100% on account of its Claim. Accordingly, the Plan is fair and
equitable towards all holders of Claims and Interests in the Deemed Rejecting Classes. Third, the
Plan does not discriminate unfairly with respect to the Deemed Rejecting Classes because no
similarly situated class will receive more favorable treatment. Where the Plan provides differing

treatment for certain Classes of Claims or Interests, the Debtors have a rational basis for doing so

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(or the Class consented to such treatment). The Plan may therefore be confirmed despite the fact
that not all Impaired Classes have voted to accept the Plan.

BB. Only One Plan (11 U.S.C. § 1129(c)). The Plan satisfies the requirements of
section 1129(c) of the Bankruptcy Code. The Plan is the only chapter 11 plan filed in each of
these chapter 11 cases.

CC. Principal Purpose of the Plan (11 U.S.C. § 1129(d)). The Plan satisfies the
requirements of section 1129(d) of the Bankruptcy Code. The principal purpose of the Plan is not
the avoidance of taxes or the avoidance of the application of section 5 of the Securities Act.

DD. No Small Business Case (11 U.S.C. § 1129(e)). None of the Debtors is a “small
business debtor,” as such term is defined in section 101(51D) of the Bankruptcy Code, and
section 1129(e) of the Bankruptcy Code is therefore inapplicable to the Plan.

EE. Satisfaction of Confirmation Requirements. Based upon the foregoing, all
applicable requirements for confirming the Plan set forth in section 1129 of the Bankruptcy Code
have been satisfied.

FF. Implementation. All documents necessary to implement the Plan, including
those contained in the Plan Supplement, the New ABL Facility Documents, the New FILO Term
Loan Facility Documents, and the New Term Loan Facility Documents, and all other relevant
and necessary documents have been negotiated in good faith and at arm’s length and shall, upon
completion of documentation and execution, be valid, binding, and enforceable agreements and
shall not be in conflict with any federal or state law.

GG. Releases, Exculpation, and Injunction. The Court has jurisdiction under
sections 1334(a) and (b) of title 28 of the United States Code to approve the releases,

exculpation, and injunction set forth in the Plan. The settlements reflected in the Plan are (1) in

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the best interests of the Debtors, their Estates, and all holders of Claims or Interests, (2) fair,
equitable, and reasonable, (3) made in good faith, and (4) hereby approved by the Court pursuant
to Bankruptcy Rule 9019. The allowance, classification, and treatment of any Allowed Claims
and Allowed Interests of a Released Party take into account any Causes of Action, whether under
the Bankruptcy Code or otherwise under applicable non-bankruptcy law, that may exist between
the Debtors and any Released Party.

HH. As contemplated by section 1123(b)(3) of the Bankruptcy Code, Article IX.D of
the Plan describes certain releases granted by the Debtors and certain third parties (the
“Releases”). The Releases, including the Releases of non-Debtor third parties, are permitted
under applicable bankruptcy law when, as has been established here based upon the record in
these chapter 11 cases and the evidence presented at the Combined Hearing, they are (1) in
exchange for the good and valuable consideration provided by the Released Parties; (2) a good
faith settlement and compromise of the claims released by Article IX.D of the Plan; (3) in the
best interests of the Debtors and all holders of Claims and Interests; (4) fair, equitable, and
reasonable; (5) given and made after due notice and opportunity for a hearing; (6) a bar to any
Entity (including the Debtors) asserting any claim or Cause of Action released pursuant to
Article [X.D the Plan, (7) consensual, and (8) are integral parts of the Plan.

IL. Furthermore, the Releases of non-debtors in Article IX of the Plan are fair to
holders of Claims and Interests, are necessary to the proposed restructuring, and such Releases
are appropriate because (1) there is an identity of interest between the Debtors and each of the
Released Parties as they share the common goal of confirming the Plan and implementing the
transactions contemplated thereby; (2) each of the Released Parties provided a substantial

contribution to the reorganization, including without limitation the efforts of the Released Parties

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to, among other things, facilitate the reorganization of the Debtors, implement the restructuring
contemplated by the Restructuring Support Agreement and the Plan, and provide funding for the
Chapter 11 Cases, (3) each Impaired Class entitled to vote on the Plan voted to accept, and
(4) the Plan provides for all holders of General Unsecured Claims to be paid in full or otherwise
be unimpaired. In addition, the Releases provide finality for the Debtors, the Reorganized
Debtors, and the Released Parties regarding the parties’ respective obligations under the Plan and
were specifically negotiated by the Debtors, the Consenting Creditors, and the ABL Parties as
part of the Restructuring Support Agreement and the Plan. Without the Releases, the Released
Parties are not willing to make their contributions under the Plan.

JJ. Further, the exculpation provision described in Article IX.E of the Plan (the
“Exculpation”) is appropriate under applicable law because it was proposed in good faith, was
formulated following extensive good-faith, arm’s-length negotiations with key constituents and
is appropriately limited in scope, as it will have no effect on the liability of any Entity for any act
or omission that is determined by a Final Order of a court of competent jurisdiction to have
constituted willful misconduct, fraud, or gross negligence. The Exculpated Parties have
participated in compliance with the applicable provisions of the Bankruptcy Code with regard to
the solicitation and distribution of the securities pursuant to the Plan and, therefore, are not, and
on account of such distributions shall not be, liable at any time for the violation of any applicable
law, rule, or regulation governing the solicitation of acceptances or rejections of the Plan or such
distributions made pursuant to the Plan.

KK. The injunction provision set forth in Article IX.F of the Plan is necessary to

implement, preserve, and enforce the discharge described in Article [X.B of the Plan, the

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Releases, and the Exculpation. The injunction provision is narrowly tailored to achieve this
purpose.

LL. The record of the Combined Hearing and these chapter 11 cases, including the
Declarations, is sufficient to support the releases, exculpation, and injunction provided for in
Article IX.D, Article IX.E, and Article IX.F of the Plan, respectively. Accordingly, based upon
the record of these chapter 11 cases, the representations and the evidence proffered, adduced and
presented at the Combined Hearing, the Court finds that the releases, exculpation, and injunction
set forth in Article IX of the Plan are consistent with the Bankruptcy Code and applicable law.
The failure to implement the injunction, exculpation, and releases would seriously impair the
Debtors’ ability to confirm the Plan.

MM. Preservation of Causes of Action. Article V.M of the plan provides, in
accordance with section 1123(b) of the Bankruptcy Code, but subject in all respects to Articles
VI and IX of the Plan, that each Debtor shall retain all rights to commence and pursue, as
appropriate, any and all Litigation Claims that such Debtor or its Estate may hold whether arising
before or after the Petition Date, including any actions specifically identified in the Plan
Supplement, and such rights to commence, prosecute, settle, or assert as a defense such
Litigation Claims shall be preserved notwithstanding the occurrence of the Effective Date. Ifa
Litigation Trust is established, any and all Litigation Claims that constitute Litigation Trust
Assets shall be transferred to the Litigation Trust on the Effective Date, and the Litigation
Trustee shall be entitled to enforce all rights to commence and pursue any such Litigation Claims
at the Direction of the Litigation Trust Advisory Board in accordance with the terms of the
Litigation Trust Agreement. The provisions of the Plan, including the Plan Supplement,

regarding the Litigation Claims and the Litigation Trust are appropriate, fair, equitable, and

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reasonable and are in the best interests of the Debtors, the Estates, and holders of Claims and
Interests.

NN. Good Faith. The Debtors, the Reorganized Debtors, the Consenting Creditors,
each of the New ABL Parties, and each of the Released Parties have been, are, and will continue
to be acting in good faith if they proceed to (1) consummate the Plan and the agreements,
settlements, transactions, and transfers contemplated thereby and (2) take the actions authorized,
directed or contemplated by this Confirmation Order.

OO. Exit Facility. The New Exit Facilities Documents (as defined below), and each
of the New Exit Facilities (as defined below) to which they respectively relate, are, individually
and collectively, essential elements of the Plan, and entry into the New Exit Facilities Documents
is in the best interests of the Debtors, their Estates, and the Holders of Claims and Interests and is
necessary and appropriate for consummation of the Plan and the operations of the Reorganized
Debtors. The Debtors have exercised sound business judgment in determining to enter into the
New Exit Facilities Documents and have provided adequate notice-thereof. The New Exit
Facilities Documents have been negotiated in good faith and at arm's length among the Debtors
and the applicable New ABL Parties, New FILO Term Loan Lenders, New FILO Term Loan
Agent, New Term Loan Lenders, and the New Term Loan Agent, without the intent to hinder,
delay, or defraud any creditor of the Debtors, and any credit extended and loans made or deemed
made to the Reorganized Debtors by the applicable New ABL Lenders, New FILO Term Loan
Lenders, and/or New Term Loan Lenders pursuant to the applicable New Exit Facilities
Documents, and any fees paid thereunder, are deemed to have been extended, issued, and made

or deemed made in good faith and for legitimate business purposes. The terms and conditions of

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the New Exit Facilities Documents set forth in the Plan Supplement are fair and reasonable and
are approved.

PP. New Organizational Documents. The terms of the New Organizational
Documents are fair and reasonable and are in the best interests of the Debtors’ Estates and their
creditors. The New Organizational Documents are the result of good faith, arm’s-length
negotiations among the Debtors and the Consenting Creditors, are appropriate and consistent
with the applicable provisions of the Bankruptcy Code and the Bankruptcy Rules, including, but
not limited to, Bankruptcy Code sections 1123, 1129, and 1142, and are necessary to the
Debtors’ successful emergence from chapter 11. The execution, delivery, or performance by the
Debtor or Reorganized Debtors, as the case may be, of any documents in connection with the
New Organizational Documents and compliance by the Debtors or Reorganized Debtors, as the
case may be, with the terms thereof is authorized by, and will not conflict with, the terms of the
Plan or this Order. The notice provided by the Debtor of the New Organizational Documents was
consistent with the Bankruptcy Code and the Bankruptcy Rules and no other or further notice is
or shall be required. The New Organizational Documents are hereby approved and shall
constitute legal, valid, binding and authorized agreements of the Reorganized Debtors
enforceable in accordance with their terms.

QQ. Valuation. The valuation of the Reorganized Debtors set forth in the Disclosure
Statement was prepared, at the Debtors’ request, by Lazard Fréres & Co. LLC, in accordance
with standard and customary valuation principles and practices, and is a fair and reasonable

estimate of the value of the Reorganized Debtors’ businesses as a going concern.

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RR. Retention of Jurisdiction. Pursuant to sections 105(a) and 1142 of the
Bankruptcy Court, the Court may properly retain jurisdiction over the matters arising out of, or
related to, these chapter 11 cases and the Plan as set forth in Article XII of the Plan.

SS. Waiver of Stay. Given the facts and circumstances of the Chapter 11 Cases, it is
appropriate that this Confirmation Order shall not be stayed pursuant to Bankruptcy Rules
3020(e), 6004(g), 6006(d), or 7062, and the Confirmation Order shall take effect immediately
upon its entry.

AND IT IS HEREBY ORDERED, ADJUDGED, AND DECREED THAT:

Order

1. Findings of Fact and Conclusions of Law. The above-referenced findings of
fact and conclusions of law are hereby incorporated by reference as though fully set forth herein
and, together with the findings and conclusions in the record of the Combined Hearing, shall
constitute the Court’s findings of fact and conclusions of law pursuant to rule 52 of the Federal
Rules of Civil Procedure, as made applicable herein by Bankruptcy Rules 7052 and 9014. To the
extent any finding of fact shall be determined to be a conclusion of law, it shall be deemed so,
and vice versa.

2. Notice of Combined Hearing. The Combined Notice complied with the terms of
the Scheduling Order, was adequate and sufficient under the circumstances, and all parties
required to be given notice of the Combined Hearing (including the deadline for filing and
serving objections to the Plan, Disclosure Statement, Motion, or proposed entry of this
Confirmation Order) have been given due, proper, timely, and adequate notice in accordance
with the Scheduling Order and in compliance with the Bankruptcy Code, the Bankruptcy Rules,

the Local Rules, and any applicable non-bankruptcy law, rule, and regulation, and such parties

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have had an opportunity to appear and be heard with respect thereto. No other or further notice
is required.

3. Objections. The objections of the U.S. Trustee and the SEC are sustained in part,
and overruled in part, as set forth on the record at the hearing on May 2, 2018. All other
objections, responses to, and statements and comments, if any, in opposition to, the Plan and/or
the Disclosure Statement, respectively, which have not been resolved as set forth on the record,
or withdrawn, shall be, and hereby are, overruled in their entirety or are otherwise resolved as
incorporated herein.

4. Solicitation Procedures. The Solicitation Procedures are approved in all
respects, including the selection of the Voting Record Date and Voting Deadline, and were
appropriate and satisfactory based upon the circumstances and in compliance with the
Bankruptcy Code, the Bankruptcy Rules, the Local Rules, and any other applicable non-
bankruptcy law. Transmission of the Solicitation Package and Non-Accredited Holder Notice to
holders’ of Claims in the Voting Classes was timely, adequate, and sufficient under the
circumstances, and no further transmission of the Solicitation Package was required.

5. Ballots. The Ballots are in compliance with Bankruptcy Rule 3018(c), adequately
conform to Official Form B314, and are approved in all respects.

6. Adequacy of Disclosure Statement. The Disclosure Statement is approved in all
respects and contains (a) sufficient information of a kind to satisfy the disclosure requirements of
all applicable non-bankruptcy law, rules, and regulations, including the Securities Act, to the
extent applicable, and (b) “adequate information,” as such term is defined in section 1125(a) of
the Bankruptcy Code, with respect to the Debtors, the Plan, and the transactions contemplated

therein.

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7. Approval of Solicitation. The solicitation of votes on the Plan conducted prior to
the Petition Date complied with the Solicitation Procedures, was appropriate and satisfactory
based upon the circumstances of these chapter 11 cases, and was in compliance with the
Bankruptcy Code, the Bankruptcy Rules, the Local Rules, and applicable non-bankruptcy law,
including, for the avoidance of doubt, section 1125(g) of the Bankruptcy Code. Holders of
Claims or Interests who accepted the Plan prior to the Petition Date pursuant to the Debtors’
solicitation of the Plan are deemed, pursuant to section 1126(b) of the Bankruptcy Code, to have
accepted the Plan for purposes of subsections (c) and (d), as applicable, of section 1126 of the
Bankruptcy Code. The solicitation of votes on the Plan conducted after the Petition Date
complied with the Solicitation Procedures, was appropriate and satisfactory based upon the
circumstances of these chapter 11 cases, and was in compliance with the Bankruptcy Code, the
Bankruptcy Rules, the Local Rules, and applicable non-bankruptcy law, including, for the
avoidance of doubt, sections 1125 and 1126 of the Bankruptcy Code.

8. To the extent that the Debtors’ prepetition solicitation of acceptances of the Plan is
deemed to constitute an offer of new securities, the Debtors are exempt from the registration
requirements of the Securities Act (and of any equivalent state securities or “blue sky” laws) with
respect to their prepetition solicitation under section 4(a)(2) of the Securities Act and similar
Blue Sky Laws provisions. Likewise, any offer of new securities after the Petition Date is
likewise exempt from registration with the SEC, and similar state authorities,
under section 1145(a) of the Bankruptcy Code.

9. Confirmation of Plan. The Plan and each of its provisions shall be, and hereby
are, CONFIRMED pursuant to section 1129 of the Bankruptcy Code. The documents contained

in the Plan Supplement are authorized and approved. The terms of the Plan, including the Plan

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Supplement, are incorporated by reference into and are an integral part of this Confirmation
Order.

10. No Action Required. Pursuant to the appropriate provisions of applicable law
and section 1142(b) of the Bankruptcy Code, no action of the respective directors, equity holders,
managers, or members of the Debtors or the Reorganized Debtors, as applicable, shall be
required to authorize the Debtors or the Reorganized Debtors, as applicable, to enter into,
execute, deliver, file, adopt, amend, restate, consummate, or effectuate, as the case may be, the
Plan and any contract, instrument, or other document to be executed, delivered, adopted, or
amended in connection with the implementation of the Plan, including the Plan Supplement.

11. Binding Effect. Subject to Article X.B of the Plan and notwithstanding
Bankruptcy Rules 3020(e), 6004(h), or 7062 or otherwise, upon the occurrence of the Effective
Date, the terms of the Plan shall be immediately effective and enforceable and deemed binding
upon the Debtors, the Reorganized Debtors, any and all holders of Claims or Interests
(irrespective of whether such Claims or Interests are deemed to have accepted the Plan), all
Entities that are party, or subject, to the settlements, compromises, releases, discharges, and
injunctions described in the Plan, each Entity acquiring property under the Plan, and any and all
of the Debtors’ counterparties to Executory Contracts, Unexpired Leases, and any other
prepetition agreements and each of the foregoing’s respective heirs, successors, assigns, trustees,
executors, administrators, affiliates, officers, directors, agents, representatives, attorneys,
beneficiaries, or guardians.

12. Vesting of Assets. Except as otherwise provided in the Plan or in this
Confirmation Order, on the Effective Date, all property in each Estate, and any property acquired

by the Debtors pursuant to the Plan shall vest in each respective Reorganized Debtor, free and

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clear of all Liens, Claims, charges, or other encumbrances other than any Unimpaired Claims or
any valid liens or security interests securing such Unimpaired Claims; provided, however, that (1)
each Litigation Claim shall either (a) be treated pursuant to the terms of a Litigation Settlement,
or (b) if no such Litigation Settlement occurs with respect to such Litigation Claim, shall be
transferred to the Litigation Trust, and (ii) all unsecured claims against ROC as of the Effective
Date shall be assumed by Reorganized OpCo on the Effective Date. On and after the Effective
Date, except as otherwise provided in the Plan, the Reorganized Debtors may operate their
businesses and may use, acquire, or dispose of property and compromise or settle any Claims,
Interests, or Causes of Action without supervision or approval by the Bankruptcy Court, and free
of any restrictions of the Bankruptcy Code or Bankruptcy Rules. If a Litigation Trust is
established, any and all Litigation Claims that constitute Litigation Trust Assets shall be
transferred to the Litigation Trust on the Effective Date, and the Litigation Trustee shall be
entitled to enforce all rights to commence and pursue any such Litigation Claims at the Direction
-of the Litigation Trust Advisory Board in accordance with the terms of the Litigation Trust
Agreement. Pursuant to Article VI of the Plan, in connection with the vesting and transfer of the
Litigation Trust Assets, any attorney-client privilege, work-product privilege, or other privilege
or immunity attaching to any documents or communications (whether written or oral and
including, electronic information) relating to the Litigation Trust Assets (collectively, the
“Privileges”) shall vest in the Litigation Trust. The Debtors, the Reorganized Debtors, the
Consenting Creditors, and the Litigation Trustee shall take all necessary actions to effectuate the
transfer of such privileges, protections, and immunities. The Litigation Trust’s, Litigation
Trustee’s, and the Litigation Trust Advisory Board’s receipt of the Privileges shall be without

waiver in recognition of the joint/successorship interest in prosecuting claims on behalf of the

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applicable stakeholders of the Debtors’ Estates. For the avoidance of doubt, upon the transfer of
the Litigation Trust Assets, the Litigation Trust shall succeed to all of the Debtors’ rights, title,
and interest in the Litigation Trust Assets, and the Debtors shall have no further interest in or
with respect to the Litigation Trust.

13. Authorizations to Undertake Restructuring Transactions. The Debtors are
authorized to enter into such transactions and take such other actions as may be necessary or
appropriate to effect a corporate and other Entity restructuring of their businesses, to otherwise
simplify the overall corporate and other Entity structure of the Debtors, or to reincorporate or
reorganize certain of the Debtors under the laws of jurisdictions other than the laws of which
such Debtors currently are incorporated or formed. In furtherance thereof, the Debtors, and the
directors, officers, or managers acting on its behalf, may (a) execute and deliver appropriate
agreements or other documents of merger, consolidation, restructuring, disposition, liquidation,
or dissolution containing terms that are consistent with the terms of the Plan and the
Restructuring Support Agreement and that satisfy the requirements of applicable state law and
such other terms to which the applicable Entities may agree; (b) execute and deliver appropriate
instruments of transfer, assignment, assumption, or delegation of any asset, property, right,
liability, duty, or obligation on terms consistent with the terms of the Plan and the Restructuring
Support Agreement, and having such other terms to which the applicable Entities may agree;
(c) file appropriate certificates or articles of merger, consolidation or dissolution pursuant to
applicable state law, consistent with the terms of the Plan and the Restructuring Support
Agreement; and (d) take all other actions that the applicable Entities determine to be necessary or

appropriate, including making filings or recordings that may be required by applicable state law

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in connection with such transactions, consistent with the terms of the Plan and Restructuring
Support Agreement.

14. Effectiveness of All Actions. On the Effective Date, all actions contemplated
under the Plan (including, for the avoidance of doubt, the Plan Supplement) shall be deemed
authorized and approved in all respects, including: (a) appointment of the New Boards pursuant
to Article V.I of the Plan and any other managers, directors, or officers for the Reorganized
Debtors identified in the Plan Supplement; (b) the issuance and distribution of the New Common
Units and the New Warrants (including entry into the Warrant Agreement substantially in the
form submitted with the Plan Supplement); (c) entry into the New Organizational Documents
substantially in the forms submitted with the Plan Supplement; (d) entry into the New ABL
Facility Loan Agreement, the New FILO Term Loan Agreement, and the New Term Loan
Agreement, each substantially in the form submitted with the Plan Supplement, and the other
New ABL Facility Documents, the New FILO Term Loan Facility Documents, and the New
Term Loan Facility Documents (collectively, the “New Exit Facilities Documents”); (e) entry
into the Litigation Trust Agreement . substantially in the forms submitted with the Plan
Supplement; (f) implementation of the Restructuring Transactions; and (g) all other actions
contemplated under the Plan. All matters provided for in the Plan involving the corporate or
other Entity structure of the Debtors or the Reorganized Debtors, and any corporate or other
Entity action required by the Debtors or the Reorganized Debtors in connection with the Plan,
shall be deemed to have occurred and shall be in effect, without any requirement of further action
by the security holders, directors, managers, or officers of the Debtors or the Reorganized
Debtors. On or before the Effective Date, the appropriate officers of the Debtors or the

Reorganized Debtors, as applicable, shall be authorized and (as applicable) directed to issue,

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execute, and deliver the agreements, documents, securities, and instruments contemplated under
the Plan (or necessary or desirable to effectuate the transactions contemplated under the Plan) in
the name, and on behalf, of the Reorganized Debtors, including any and all agreements,
documents, securities, and instruments relating to the foregoing. The foregoing authorizations
and approvals shall be effective notwithstanding any requirements under applicable non-
bankruptcy law.

15. ABL DIP Facility. Any letter of credit issued under the ABL DIP Facility Loan
Agreement which is undrawn as of the Effective Date (an "ABL DIP Undrawn Letter of Credit")
will be (a) with the consent of the issuer thereof, deemed a letter of credit issued under the New
ABL Facility Loan Agreement in an equal stated face amount (provided, that (x) all provisions
governing letters of credit in the New ABL Facility Loan Agreement are in form and substance
satisfactory to the issuer thereof and (y) the issuer thereof shall have no obligation after such
deemed issuance to renew, amend, extend, or otherwise modify any such letter of credit so
. deemed issued unless otherwise agreed by such issuer), or (b) otherwise treated in a manner
acceptable to the ABL DIP Agent. Upon treatment of each ABL DIP Undrawn Letter of Credit
in accordance with the preceding sentence, any ABL DIP Claim corresponding to such ABL DIP
Undrawn Letter of Credit shall be deemed satisfied in full (excluding fees and expenses accrued
thereon in accordance with the ABL DIP Facility Loan Agreement).

16. | The Debtors' contingent reimbursement obligations or indemnity obligations
under the ABL DIP Facility Loan Agreement, to the extent not indefeasibly paid in full in Cash
on the Effective Date or otherwise satisfied by the Debtors in a manner acceptable to the ABL

DIP Agent, any affected ABL DIP Facility Lender or any other Holder of a ABL DIP Claim, as

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applicable, shall survive the Effective Date and shall not be released or discharged pursuant to
this Order or the Plan, notwithstanding any provision hereof or thereof to the contrary.

17. New Exit Facilities. On the Effective Date, subject to the terms of the Plan, the
Reorganized Debtors shall enter into the New ABL Facility, the New FILO Term Loan Facility,
and the New Term Loan Facility (collectively, the “New Exit Facilities”), which are hereby
approved (including the transactions contemplated thereby, and all actions to be taken,
undertakings to be made, obligations to be incurred, fees and expenses to be paid, and
indemnities to be provided by the Debtors or the Reorganized Debtors in connection therewith).
Each Reorganized Debtor is authorized to: (1) finalize, execute, deliver, and take such actions as
necessary to perform under, or otherwise effectuate, those documents necessary or appropriate to
obtain the New Exit Facilities, including the applicable New Exit Facilities Documents
substantially in the forms submitted with the Plan Supplement, and (2) grant all liens and
security interests thereunder to the New ABL Agent, the New ABL Lenders, the New FILO
_ Term Loan Agent, the New FILO Term Loan Lenders, the New Term Loan Agent, and the New
Term Loan Lenders, as applicable, in accordance with the terms of the New Exit Facilities
Documents, in each case without further notice to or order of the Court, act or action under
applicable law, regulation, order, or rule or vote, consent, authorization, or approval of any
Person (including, without limitation, creditors, stockholders, directors, members or partners of
the Debtors or the Reorganized Debtors), subject to such modifications as permitted by the terms
and conditions of the Plan.

18. Until the New Exit Facilities Documents are finalized and executed, without
further order or authorization of this Court, the Debtors, the Reorganized Debtors and their

successors are authorized and empowered to further negotiate and make any and all

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modifications to the New Exit Facilities Documents in accordance with the Plan. Subject to the
occurrence of the Effective Date, the New Exit Facilities Documents shall constitute the legal,
valid, and binding obligations of the Debtors and the Reorganized Debtors, as applicable, and
shall be enforceable in accordance with their respective terms. Notwithstanding anything to the
contrary in the Plan, in the event of a conflict between the Plan (including, without limitation, the
Plan Supplement) and the New Exit Facilities Documents, the New Exit Facilities Documents
shall control.

19. On the Effective Date, the New ABL Facility (including any letters of credit
deemed issued thereunder), the New FILO Term Loan Facility, and the New Term Loan Facility,
together with any new promissory notes evidencing the obligations of the Reorganized Debtors,
and all other documents, instruments, mortgages, and agreements to be entered into, delivered, or
confirmed thereunder (including the New Exit Facilities Documents and all "Loan Documents"
or "Financing Agreements" as defined therein), shall become effective, valid, binding, and
enforceable. in accordance with their terms, and each party thereto shall be bound. thereby. The
obligations incurred by the Reorganized Debtors pursuant to the New ABL Facility (including
any letters of credit deemed issued thereunder), the New FILO Term Loan Facility, and the New
Term Loan Facility, and related documents shall be secured and paid or otherwise satisfied
pursuant to, and as set forth in, the New Exit Facilities Documents.

20. The liens contemplated by and related to the New Exit Facilities and related
documents are valid, binding, and enforceable liens on the collateral specified in the relevant
agreements executed by the Reorganized Debtors in connection with the New Exit Facilities. The
guarantees, mortgages, pledges, liens, and other security interests granted pursuant to or in

connection with the New Exit Facilities are granted in good faith as an inducement to the lenders

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and other secured parties thereunder to extend credit thereunder and shall be, and hereby are,
deemed not to constitute a fraudulent conveyance or fraudulent transfer, shall not otherwise be
subject to avoidance, recharacterization, or subordination, and the priorities of such guarantees,
mortgages, pledges, liens, and other security interests shall be as set forth in the applicable
intercreditor agreement(s) and other definitive documentation executed in connection with the
New Exit Facilities.

21. | The Reorganized Debtors and the secured parties (and their designees and agents)
under the New Exit Facilities are authorized to make all filings and recordings, and to obtain all
governmental approvals and consents necessary to evidence, establish, and perfect such liens and
security interests in connection with the New Exit Facilities under the provisions of the
applicable state, provincial, federal, or other law (whether domestic or foreign) that would be
applicable in the absence of the Plan and this Confirmation Order (it being understood that
perfection shall occur automatically by virtue of the entry of this Confirmation Order, and any
such filings, recordings, approvals, and consents shall not be required as a matter of law to —
perfect such liens and other security interests), and will thereafter cooperate to make ail other
filings and recordings that otherwise would be necessary under applicable law to give notice of
such Liens and security interests to third parties.

22. Notwithstanding anything to the contrary in this Confirmation Order or the Plan,
the Court's retention of jurisdiction shall not govern any disputes arising or asserted under the
New Exit Facilities Documents or related loan documents or financing agreements executed in
connection with the New Exit Facilities or any liens, rights or remedies related thereto.

23. Upon the Effective Date, the DIP Agent (as defined in the Final DIP Order) and

the DIP Lenders (as defined in the Final DIP Order) shall be released from any and all liability,

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responsibility, and/or obligation to hold, reserve for, or otherwise fund or ensure the funding of
the Carve-Out (as defined in the Final DIP Order) or any other expenses included within the
Carve-Out and from any obligation, responsibility or liability to the Debtors, any of the
Professionals (as defined in the Final DIP Order) or any other third party to pay, fund or
otherwise satisfy the fees and expenses of such Professionals.

24. Managers and Officers. As of the Effective Date, the terms of the current
members of the boards of directors or managers (as applicable) of the Debtors shall expire, such
directors shall be deemed to have resigned, and the initial boards of directors or managers (as
applicable), including the New Boards identified in the Plan Supplement, and the officers of the
Reorganized Debtors shall be appointed in accordance with the respective New Organizational
Documents. Each such director, manager, and officer shall serve from and after the Effective
Date pursuant to the terms of the New Organizational Documents and other constituent
documents of the Reorganized Debtors. Pursuant to section 1129(a)(5)(A)(ii) of the Bankruptcy
Code, the Court approves as consistent with the interests of holders of Claims and Interests and
with public policy the selection, election and/or continuance, as the case may be, of these
individuals; provided that nothing set forth herein shall prevent any of the foregoing individuals
from resigning or from being removed or replaced as director or manager without further order
of the Court in accordance with the terms of the Reorganized Debtors’ organizational documents,
as applicable. On or immediately prior to the Effective Date or as soon thereafter as is
practicable, the Reorganized Debtors will, to the extent such New Organizational Documents
were included in the Plan Supplement, file its New Organizational Documents (if so required

under applicable state law) with the applicable Secretaries of State and/or other applicable

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authorities in its respective state, province, or country of incorporation in accordance with the
corporate laws of the respective state, province, or country of incorporation or formation.

25, Compliance with Section 1123(a)(6) of Bankruptcy Code. The Plan complies
with section 1123(a)(6) of the Bankruptcy Code.

26. Exemption from Securities Law. Pursuant to section 1145 of the Bankruptcy
Code, the issuance and distribution of the New Common Units, the New Warrants (and the New
Common Units issuable upon the exercise thereof), and the Litigation Trust Interests as
contemplated by the Plan shall be exempt from, among other things, the registration
requirements of section 5 of the Securities Act and any other applicable law requiring
registration thereunder. In addition, under section 1145 of the Bankruptcy Code, the New
Common Units, the New Warrants (and the New Common Units issuable upon the exercise
thereof), and the Litigation Trust Interests will be freely tradable in the U.S. by the recipients
thereof, subject to the provisions of section 1145(b)(1) of the Bankruptcy Code relating to the
definition of an underwriter in section 2(a)(11) of the Securities Act, and compliance with
applicable securities laws and any rules and regulations of the Securities and Exchange
Commission, if any, applicable at the time of any future transfer of such securities or instruments
and subject to any restrictions in the New Organizational Documents, the Warrant Agreement,
and the Litigation Trust Agreement, as applicable; provided, however, that notwithstanding
anything to the contrary herein, the transfer of the New Common Units, the New Warrants, and
the Litigation Trust Interests will be prohibited to the extent such transfer would subject the
Reorganized Debtors or the Litigation Trust to the registration and reporting requirements of the

Securities Act and the Securities Exchange Act of 1934, as amended.

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27. Cancellation of Certain Loans, Securities and Agreements. Except as
otherwise provided in the Plan (including with respect to Unimpaired Claims), on the Effective
Date: (1) the Term/ROC DIP Credit Agreement, the ABL DIP Facility Loan Agreement, the
ABL Facility, the Term Loan Agreement, the Third Lien Notes Indenture, the Interests in ROC,
any intercompany notes memorializing or evidencing the Settled Intercompany Claims, and any
other certificate, equity security, share, note, purchase right, option, warrant, or other instrument
or document directly or indirectly evidencing or creating any indebtedness or obligation of, or
ownership interest in, the Debtors giving rise to any Claim or Interest (except such certificates,
notes, or other instruments or documents evidencing indebtedness or obligation of, or ownership
interest in, the Debtors that are reinstated pursuant to the Plan), shall be deemed cancelled,
surrendered, and discharged as to the Debtors without any need for further action or approval of
the Bankruptcy Court or any holder thereof or any other person or entity, and the Reorganized
Debtors shali not have any continuing obligations thereunder or in any way related thereto; and
(2) the obligations of the Debtors pursuant, relating, or. pertaining to any agreements, indentures,
certificates of designation, bylaws or certificate or articles of incorporation, or similar documents
governing the shares, certificates, notes, purchase rights, options, warrants, or other instruments
or documents evidencing or creating any indebtedness or obligation of, or ownership interest in,
the Debtors (except such agreements, certificates, notes or other instruments evidencing
indebtedness or obligation of or ownership interest in the Debtors that are specifically reinstated
pursuant to the Plan) shall be deemed satisfied in full, released, and discharged without any need
for further action or approval of the Bankruptcy Court or any holder thereof or any other person
or entity; provided, however, that notwithstanding Confirmation or Consummation, any such

agreement that governs the rights of the holder of a Claim shall continue in effect solely for

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purposes of (a) allowing holders to receive distributions under the Plan, (b) with respect to the
ABL Facility, as necessary to enforce the terms of the ABL Payoff Letter, including but not
limited to the Surviving Obligations (as defined in the ABL Payoff Letter), (c) with respect to the
Third Lien Notes Indenture, as necessary to (i) permit the Third Lien Notes Indenture Trustee to
take such action as contemplated by the Plan and Confirmation Order, (ii) enforce the rights,
Claims and interests of the Third Lien Notes Indenture Trustee vis a vis the Third Lien
Noteholders, (iii) preserve any rights of the Third Lien Notes Indenture Trustee as against any
money or property distributable to the Third Lien Noteholders, including any priority in respect
of payment and the right to exercise any charging lien, provided further, that except with respect
to its rights and obligations with respect to this Plan and the Confirmation Order, the Third Lien
Notes Indenture Trustee and its agents shall be relieved of all further duties and responsibilities
related to the Third Lien Notes Indenture, and (d) solely with respect to the Term Loan
Agreement, as necessary to (i) enforce the rights, Claims and interests of the Term Loan Agent
and any predecessor thereof vis-a-vis the Secured Parties (as defined in the Term Loan
Agreement) and any parties other than the Debtors or the Reorganized Debtors, (ii) preserve any
rights of the Term Loan Agent and any predecessor thereof as against any money or property
distributable to holders of Term Loan Claims, including any priority in respect of payment and
the right to exercise any charging lien, and (iii) enforce the terms of the OpCo Bridge Payoff
Letter, including but not limited to the Surviving Obligations (as defined in the OpCo Bridge

Payoff Letter); provided further, that the preceding proviso shall not affect the discharge of

 

Claims or Interests pursuant to the Bankruptcy Code, this Confirmation Order, or the Plan, or
result in any expense or liability to the Reorganized Debtors. Except for the foregoing, the Term

Loan Agent and its respective agents shall be relieved of all further duties and responsibilities

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related to the Financing Agreements (as defined in the Term Loan Agreement) and the Plan,
except with respect to such other rights of the Term Loan Agent that, pursuant to the Term Loan
Agreement, survive the termination of the Financing Agreements. Subsequent to the
performance by the Term Loan Agent of its obligations pursuant to the Plan, the Term Loan
Agent and its agents shall be relieved of all further duties and responsibilities related to the
Financing Agreements.

28. Release of Liens. Except as otherwise expressly provided in the Plan (including
with respect to Unimpaired Claims), or in any contract, instrument, release, or other agreement
or document created pursuant to the Plan, including the New ABL Facility Documents, New
Term Loan Facility Documents, and the New FILO Term Loan Facility Documents, on the
Effective Date, upon (1) the applicable distributions made pursuant to the Plan, and (2) the
effectiveness of the New ABL Facility Documents, New Term Loan Facility Documents, and the
New FILO Term Loan Facility Documents, all mortgages, deeds of trust, Liens, pledges, or other
security interests against any property of the Estates shall be fully released and discharged, and
all of the right, title, and interest of any holder of such mortgages, deeds of trust, Liens, pledges,
or other security interests shall revert to the Reorganized Debtors and each of their successors
and assigns. For the avoidance of doubt, any release of a prepetition Lien pursuant to this
paragraph shall be automatic, without any further action or filings on the part of the Debtors or
the Reorganized Debtors; provided, however, that a certified copy of this Confirmation Order
may be filed or recorded in addition to or in lieu of any document or instrument necessary to
confirm any such release.

29. Notwithstanding the entry of this Confirmation Order, from the Confirmation

Date through the Effective Date, all of the claims, liens, interests, rights, priorities, protections

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and remedies afforded to the DIP Agent (as defined in the Final DIP Order) and DIP Lenders (as
defined in the Final DIP Order) in the Final DIP Order shall remain in full force and effect, and
shall constitute, and continue to constitute, the legal, valid, binding and enforceable obligations
of the Debtors, which shall not be impaired, prejudiced or modified in any way at any time prior
to the Effective Date.

30. General Settlement of Claims and Interests. Pursuant to section 1123 of the
Bankruptcy Code and Bankruptcy Rule 9019, and in consideration for the classification,
distributions, releases, and other benefits provided under the Plan, on the Effective Date, the
provisions of the Plan shall constitute a good faith compromise and settlement of all Claims and
Interests and controversies resolved pursuant to the Plan. All distributions made to holders of
Allowed Claims in any Class and Interests in accordance with the Plan are intended to be, and
shall be, final.

31. COAC Agreement. Article V.I.3 of the Plan and any other provisions or
conditions related thereto that address the proposed amended of the COAC Agreement are
hereby waived in accordance with the terms and conditions of the Agreed Order Resolving
Cerberus Operations and Advisory Company, LLC's (1) Limited Objection to Plan Confirmation
and (2) Motion for Relief from the Automatic Stay to Terminate Services Agreement [Docket No.
233], which is hereby incorporated into and made a part of this Confirmation Order as though
fully set forth herein. Any and all Claims of Cerberus, COAC, or each of their respective
affiliates are hereby Disputed Claims as defined in the Plan.

32. Preservation of Causes of Action. In accordance with section 1123(b) of the
Bankruptcy Code, but subject in all respects to Articles VI and [IX of the Plan, each Debtor shall

retain all rights to commence and pursue, as appropriate, any and all Litigation Claims that such

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Debtor or its Estate may hold whether arising before or after the Petition Date, including any
actions specifically identified in the Plan Supplement, and such rights to commence, prosecute,
settle, or assert as a defense such Litigation Claims shall be preserved notwithstanding the
occurrence of the Effective Date.

33. Assumption or Rejection of Contracts and Leases. On the Effective Date,
except as otherwise ordered by the Court or provided in the Plan, all Executory Contracts and
Unexpired Leases of the Debtors, including that certain Employment Agreement dated as of
August 15, 2015, by and between Remington Outdoor Company, Inc. and Stephen P. Jackson, Jr.
and that certain Employment Agreement dated as of October 19, 2017, by and between
Remington Outdoor Company, Inc. and Anthony A. Acitelli (collectively, the “Existing
Employment Agreements”), shall be deemed assumed by the applicable Debtor counterparty in
accordance with the provisions and requirements of sections 365 and 1123 of the Bankruptcy
Code, and such assumptions are hereby approved. Notwithstanding anything to the contrary
herein, on the Effective Date, all Executory Contracts and- Unexpired Leases to which ROC or
FGI Holding is a party shall be deemed assumed by Reorganized OpCo; provided, that all
federal, state, or local government licenses, permits, and similar rights or privileges held by ROC
shall be deemed assumed on the Effective Date by Reorganized ROC. All indemnification
contracts and employment contracts (except for the Existing Employment Agreements) to which
one or more Debtors is a party shall be rejected to the extent permitted by law unless expressly
assumed prior to the Effective Date or pursuant to the terms of this Plan. Each Executory
Contract and Unexpired Lease assumed pursuant to the Plan and this Confirmation Order, which

has not been assigned to a third party prior to the Confirmation Date, shall revest in, and be fully

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enforceable by, Reorganized OpCo in accordance with its terms, except as such terms are
modified by the provisions of the Plan or otherwise ordered by the Court.

34. Any disputes between the Debtors or the Reorganized Debtors, on the one hand,
and the counterparty to any Executory Contract and Unexpired Lease regarding cure amounts or
“adequate assurance of future performance” (within the meaning of Bankruptcy Code section
365) shall be governed by the procedures set forth in Article VII.B of the Plan; provided,
however, for the avoidance of doubt, any undisputed ordinary course payments made to such
counterparty pursuant to the Bankruptcy Court’s orders (including, but not limited to, any “first
day” orders entered by this Bankruptcy Court) or as a result of the unimpairment of Claims under
the Plan shall be deemed ordinary course payments of the amounts that become due under such
Executory Contract or Unexpired Lease and shall not be deemed cure payments that require the
parties to submit to any particular procedure under the Plan.

35. Authorization to Consummate. The Debtors are authorized to consummate the
Plan at. any time after the entry of this Confirmation Order, subject to satisfaction or waiver (by
the required parties as set forth in the Plan) of the conditions precedent to the Effective Date set
forth in Article X.B of the Plan.

36. . General Administrative Expenses. Each holder of an Allowed General
Administrative Expense, to the extent such Allowed General Administrative Expense has not
already been paid during the Chapter 11 Cases and without any further action by such holder,
shall receive, in full satisfaction of its General Administrative Expense, Cash equal to the
Allowed amount of such General Administrative Expense on the Effective Date (or, if payment
is not then due, then in the applicable Debtor’s ordinary course of business), unless otherwise

agreed by the holder of such General Administrative Expense and the applicable Debtor.

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37. Professional Fees. All final requests for payment of Professional Fees incurred
prior to the Effective Date must be filed with the Bankruptcy Court and served on the
Reorganized Debtors no later than forty-five (45) days after the Effective Date, unless the
Reorganized Debtors agree otherwise in writing. Objections to Professional Fees must be filed
with the Bankruptcy Court and served on the Reorganized Debtors and the applicable
Professional no later than seventy-five (75) days after the Effective Date. After notice and a
hearing in accordance with the procedures established by the Bankruptcy Code and any prior
orders of the Bankruptcy Court in the Chapter 11 Cases, the Allowed amounts of such
Professional Fees shall be determined by the Bankruptcy Court and, once approved by the
Bankruptcy Court, shall be promptly paid in full in Cash from the Professional Fees Escrow

Account; provided, however, that if the funds in the Professional Fees Escrow Account are

 

insufficient to pay the full Allowed amounts of the Professional Fees, the Reorganized Debtors
shall promptly pay any remaining Allowed amounts from its Cash on hand. For the avoidance of
doubt, in no circumstance shall ROC funds be contributed to the Professional Fees Escrow
Account or used to pay any Professional Fees except as otherwise provided pursuant to the Plan.

38. For the avoidance of doubt, the immediately preceding paragraph shall not affect
any professional-service Entity that is permitted to receive, and the Debtors are permitted to pay
without seeking further authority from the Bankruptcy Court, compensation for services and
reimbursement of expenses in the ordinary course of the Debtors’ businesses (and in accordance
with any relevant prior order of the Bankruptcy Court), which payments may continue
notwithstanding the occurrence of Confirmation

39. Discharge. Pursuant to section 1141(d) of the Bankruptcy Code, and except as

otherwise specifically provided in the Plan, this Confirmation Order, or in any contract,

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instrument, or other agreement or document created pursuant to the Plan (including, for the
avoidance of doubt, the Plan Supplement), the distributions, rights, and treatment that are
provided in the Plan shall be in complete satisfaction, discharge, and release, effective as of the
Effective Date, of Claims (including (i) the Settled Intercompany Claims and (ii) any
Intercompany Claims resolved or compromised after the Effective Date by the Reorganized
Debtors), Interests, and Causes of Action of any nature whatsoever, including any interest
accrued on Claims from and after the Petition Date, whether known or unknown, against,
liabilities of, Liens on, obligations of, rights against, and Interests in the Debtors or any of their
assets or properties, regardless of whether any property shall have been distributed or retained
pursuant to the Plan on account of such Claims and Interests, including demands, liabilities, and
Causes of Action that arose prior to the Effective Date, any contingent or non-contingent liability
on account of representations or warranties issued on or before the Effective Date, and all debts
of the kind specified in section 502(g), (h), or (i) of the Bankruptcy Code. This Confirmation
Order shall be a judicial determination of the discharge of all Claims and Interests as set forth
above subject to the occurrence of the Effective Date. Notwithstanding anything to the contrary
in the Plan or this Confirmation Order, (i) the discharge of all Claims and Interests as set. forth
above shall not apply to any Litigation Claim unless such Litigation Claim is expressly waived,
relinquished, exculpated, released, compromised, or settled in the Plan, the Litigation Settlement,
or a Bankruptcy Court order, and (ii) (a) each Administrative Expense and any Claim or Interest
arising prior to the Effective Date in Classes 1, 2, 3, 6, (including Claims for rejection damages
pursuant to section 365 of the Bankruptcy Code), 7, or 10 of the Plan shall not be deemed settled,
satisfied, resolved, released, discharged, barred or enjoined by any provision of the Plan

(including, for the avoidance of doubt, Articles [X.D.1 and IX.D.2 of the Plan), and (b) the

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Debtors and the Reorganized Debtors shall retain all defenses, counterclaims, rights to setoff,
and rights to recoupment, if any, as to the foregoing Claims.

40. Releases, Injunction, Exculpation, and Related Provisions under the Plan.
The releases, injunctions, and related provisions set forth in Article IX of the Plan are hereby
approved and authorized in their entirety. Only to the fullest extent permitted under Bankruptcy
Code Section 1125(e), the exculpations and related provisions set forth in Article IX of the Plan
are hereby approved and authorized in their entirety. Except as set forth in the Plan, as of the
Effective Date, any and all Causes of Action, whether under the Bankruptcy Code or otherwise
under applicable non-bankruptcy law, that may exist between the Debtors and any Released
Party (except for Causes of Action held by any employee, other than a director and/or officer
acting in such capacity, of the Debtors or any Released Party) shall be deemed settled,
compromised, and released as set forth in the Plan; provided, however, that the foregoing shall
not apply to any Litigation Claims in the event a Litigation Trust is established. The Court
hereby authorizes and approves the releases by all Entities of all such contractual, legal, and -
equitable subordination rights and Causes of Action that are satisfied, compromised, and settled
pursuant to the Plan. Nothing in Article IX.A of the Plan shall compromise or settle, in any way
whatsoever, any Causes of Action that the Debtors or the Reorganized Debtors, ds applicable,
may have against any Entity that is not a Released Party. For the avoidance of doubt, the term
“employee,” as used in this paragraph, does not include any officers and/or directors to the extent
an employee acts or acted in such capacity.”

4]. Compliance with Tax Requirements. In connection with the Plan, to the extent
applicable, the Reorganized Debtors shall comply with all tax withholding and reporting

requirements imposed on them by any Governmental Unit, and all distributions pursuant to the

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Plan shall be subject to such withholding and reporting requirements. Notwithstanding any
provision in the Plan to the contrary, the Reorganized Debtors and the Disbursing Agent shall be
authorized to take all actions necessary or appropriate to comply with such withholding and
reporting requirements, including withholding distributions pending receipt of information
necessary to facilitate such distributions or establishing any other mechanisms they believe are
reasonable and appropriate. The Reorganized Debtors reserves the right to allocate all
distributions made under the Plan in compliance with all applicable wage garnishments, alimony,
child support and other spousal awards, liens, and encumbrances.

42. Section 1146 Exemption. Pursuant to section 1146 of the Bankruptcy Code, any
transfers of property pursuant hereto shall not be subject to any document recording tax, stamp
tax, conveyance fee, intangibles or similar tax, mortgage tax, stamp act, real estate transfer tax,
mortgage recording tax, or other similar tax or governmental assessment, and upon entry of this
Confirmation Order, the appropriate state or local governmental officials or agents and any third
party shall forgo the collection of any such tax, recordation fee, or governmental assessment and
accept for filing and recordation any of the foregoing instruments or other documents without the
payment of any such tax, recordation fee, or assessment.

43, Documents, Mortgages, and Instruments. Each federal, state, commonwealth,
local, foreign, or other governmental agency is hereby authorized to accept any and all
documents, mortgages, and instruments necessary or appropriate to effectuate, implement, or
consummate the transactions contemplated by the Plan and this Confirmation Order.

44. Reversal/Stay/Modification/Vacatur of Confirmation Order. Except as
otherwise provided in this Confirmation Order, if any or all of the provisions of this

Confirmation Order are hereafter reversed, modified, vacated, or stayed by subsequent order of

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the Court, or any other court, such reversal, stay, modification, or vacatur shall not affect the
validity or enforceability of any act, obligation, indebtedness, liability, priority, or lien incurred
or undertaken by the Debtors or the Reorganized Debtors, as applicable, prior to the effective
date of any such reversal, stay, modification, or vacatur, including, without limitation, the
validity of any obligation, indebtedness, or liability incurred by the Debtors or the Reorganized
Debtors pursuant to any of the New Exit Facilities. Notwithstanding any such reversal, stay,
modification, or vacatur of this Confirmation Order, any such act or obligation incurred or
undertaken pursuant to, or in reliance on, this Confirmation Order prior to the effective date of
such reversal, stay, modification, or vacatur shall be governed in all respects by the provisions of
this Confirmation Order and the Plan or any amendments or modifications thereto.

45. Continued Effect of Stays and Injunction Until Effective Date. Unless
otherwise provided in the Plan or in this Confirmation Order, all injunctions or stays in effect in
the Chapter 1] Cases. pursuant to sections 105 or 362 of the Bankruptcy Code or any order of the
Bankruptcy Court, and existing on the Confirmation Date (excluding any injunctions or stays
contained in the Plan or this Confirmation Order) shall remain in full force and effect until the
Effective Date. All injunctions or stays contained in the Plan or this Confirmation Order shall
remain in full force and effect in accordance with their terms.

46. Retention of Jurisdiction. The Court retains jurisdiction over the matters arising
out of, or related to, these chapter 11 cases and the Plan as set forth in Article XII of the Plan.

47. Nonseverability of Plan Provisions upon Confirmation. Each term and
provision of the Plan is: (a) valid and enforceable pursuant to its terms; (b) integral to the Plan
and may not be deleted or modified without consent of the Debtors, and subject to the terms and

conditions of the Plan, the Requisite Consenting Creditors, the Term Loan Agent, the Term/ROC

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DIP Agent, the ABL DIP Agent, the New FILO Term Loan Lenders, and the New ABL
Required Lenders; and (c) nonseverable and mutually dependent.

48. | Modifications. Except as otherwise specifically provided in the Plan, and subject
to the terms of the Restructuring Support Agreement, the Debtors reserve the right to modify the
Plan, with the consent of the Requisite Consenting Creditors, the Term Loan Agent, the
Term/ROC DIP Agent, the ABL DIP Agent, the New FILO Term Loan Lenders, and the New
ABL Required Lenders, which consent may be withheld in their sole and absolute discretion,
whether such modification is material or immaterial, and seek Confirmation consistent with the
Bankruptcy Code. Subject to certain restrictions and requirements set forth in section 1127 of the
Bankruptcy Code and Bankruptcy Rule 3019 and those restrictions on modifications set forth in
the Plan and the terms of the Restructuring Support Agreement, and subject to the consent of the
Requisite Consenting Creditors, the ABL DIP Agent, the New FILO Term Loan Lenders, and
the New ABL Required Lenders, which consent may be withheld in their sole and absolute
discretion, each Debtor expressly reserves its respective rights to revoke, withdraw, alter, amend,
or modify the Plan with respect to such Debtor, one or more times, after Confirmation, to the
extent necessary to carry out the purposes and. intent of the Plan and the Restructuring Support.
Agreement, including by structuring the Plan, the Restructuring, and the Restructuring
Transaction in a manner that preserves favorable tax attributes; provided, however, that any such
amendment or modification shall not cause Class 6 General Unsecured Claims to be Impaired.
Each Debtor may, to the extent necessary, initiate proceedings in the Bankruptcy Court to so
alter, amend, or modify the Plan, or remedy any defect or omission, or reconcile any
inconsistencies in the Plan, the Disclosure Statement, or the Confirmation Order, in such matters

as may be necessary to carry out the purposes and intent of the Plan and the Restructuring

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Support Agreement. Any such modification or supplement shall be considered a modification of
the Plan and shall be made in accordance with Article XI of the Plan.

49. Distributions to Holders of Allowed Third Lien Notes Claims. All
distributions to holders of Allowed Third Lien Notes Claims shall be governed by the Third Lien
Notes Indenture, including, but not limited to, the provisions therein for the payment of the fees
and expenses of the Third Lien Notes Indenture Trustee, and shall be made to each holder of an
Allowed Third Lien Notes Claim, or such holder's authorized designee, for purposes of
distributions to be made hereunder.

50. Governing Law. Unless federal law (including the Bankruptcy Code and
Bankruptcy Rules) is applicable, and unless specifically stated otherwise, the laws of the State of
Delaware, without giving effect to the principles of conflict of laws, shall govern the rights,
obligations, construction, and implementation of the Plan and any agreements, documents,
instruments, or contracts executed or entered into in connection with the Plan (except as
otherwise set forth in those agreements, in which case the governing law of such agreement shall

control); provided, however, that corporate or entity governance matters relating to the Debtors

 

or the Reorganized Debtors shall be governed by the laws of the state of incorporation or
organization of the relevant Debtor or the Reorganized Debtors, as applicable.

51. Applicable Non-Bankruptey Law. Pursuant to sections 1123(a) and 1142(a) of
the Bankruptcy Code, the provisions of this Confirmation Order, the Plan, and related documents
or any amendments or modifications thereto shall apply and be enforceable notwithstanding any
otherwise applicable non-bankruptcy law.

52. Governmental Approvals Not Required. Except as otherwise stated in the Plan,

this Confirmation Order shall constitute all approvals and consents required, if any, by the laws,

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rules, or regulations of any state or other governmental authority with respect to the
implementation or consummation of the Plan and Disclosure Statement, any documents,
instruments, or agreements, and any amendments or modifications thereto, and any other acts
referred to in, or contemplated by, the Plan and the Disclosure Statement.

53. Reservation of Rights in Favor of Governmental Units. Notwithstanding any
provision in the Plan, this Confirmation Order (but subject to paragraph 54 of this Confirmation
Order) or the related Plan documents (together with the Plan and this Confirmation Order, the
“Plan Documents”), nothing discharges or releases the Debtors, the Reorganized Debtors or any
non-debtor from any claim, liability or cause of action of the United States or any State, or
impairs the ability of the United States or any State to pursue any claim, liability, defense, right
or cause of action against the Debtors, the Reorganized Debtors or any non-debtor. Contracts,
leases, covenants, guaranties, indemnifications, operating rights agreements or other interests or
agreements with the United States or any State shall be, subject to any applicable legal or
equitable rights .or defenses of the Debtors or te Reorganized Debtors under applicable non- —
bankruptcy law, paid, treated, determined and administered in the ordinary course of business as
if the Debtors’ bankruptcy cases were never filed, and the Debtors and the Reorganized Debtors
shall comply with all applicable non-bankruptcy law. All claims, liabilities, causes of action, or
defenses of or to the United States or any State shall survive the Chapter 11 Cases as if they had
not been commenced and be determined in the ordinary course of business, including in the
manner and by the administrative or judicial tribunals in which such rights, defenses, claims,
liabilities, or causes of action would have been resolved or adjudicated if the Chapter 11 Cases
had not been commenced; provided, that nothing in the Plan or this Confirmation Order shall

alter any legal or equitable rights or defenses of the Debtors or the Reorganized Debtors under

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nonbankruptcy law with respect to any such claim, liability or cause of action. Without limiting
the foregoing, for the avoidance of doubt: (a) the United States and any State shall not be
required to file any proofs of claim in the Chapter 11 Cases for any claim, liability or cause of
action; and (b) nothing in the Plan Documents shall (i) affect or impair the exercise of the United
States’ or any State’s police and regulatory powers against the Debtors, the Reorganized Debtors
or any non-debtor; (ii) be interpreted to set cure amounts or to require the United States or any
State to novate or otherwise consent to the transfer of any federal or state contracts, leases,
guaranties, indemnifications, grants, agreements or interests; (iii) affect or impair the United
States’ or any State’s rights and defenses of setoff and recoupment, or to assert setoff or
recoupment against the Debtors or the Reorganized Debtors and such rights and defenses are
expressly preserved; or (iv) constitute an approval or consent by the United States without
compliance with all applicable legal requirements and approvals under non-bankruptcy law.

54. Securities and Exchange Commission. Except for the Court’s findings of fact,
conclusions ‘of law y and rulings i in respect of the prepetition and postpetition solicitation of* the "
Plan, nothing in this Plan or the Order is intended to affect the police or regulatory activities of
the U.S. Securities and Exchange Commission (the “SEC”) or release any non-Debtor from
liability in connection with any legal action brought by the SEC.

55. Filing and Recording. This Confirmation Order is and shall be binding upon and
shall govern the acts of all persons or entities including, without limitation, all filing agents,
filing officers, title agents, title companies, recorders of mortgage, recorders of deeds, registrars
of deeds, administrative agencies, governmental departments, secretaries of State, federal, state,

and local officials, and all other persons and entities who may be required, by operation of law,

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the duties of their office, or contract, to accept, file, register, or otherwise record or release any
document or instrument.

56. Notice of Confirmation Order. In accordance with Bankruptcy Rules 2002
and 3020(c), the Debtors shall serve notice of the entry of this Confirmation Order, substantially
in the form attached hereto as Exhibit B, to all parties who hold a Claim or Interest in these
chapter 11 cases, including those parties who have requested service of papers under Bankruptcy
Rule 2002 and the Office of the United States Trustee within ten (10) business days after entry of
this Confirmation Order. The Debtors shall also publish notice of Confirmation once in the
national edition of USA Today (National Edition) or other nationally-circulated newspaper.
Mailing and publication of the notice of Confirmation Order in the time and manner set forth in
this paragraph shall be deemed good and sufficient notice of entry of this Confirmation Order
and no further notice is necessary.

57. Substantial Consummation. On the Effective Date, the Plan shall be deemed to
be substantially consummated-under sections 1101 and 1127 of the Bankruptcy Code.

| 58. Effect of Non-Occurrence of Effective Date. If the Effective Date does not
occur within ninety (90) days of the Confirmation Date (or such other extended deadline as may
be ordered by-the Bankruptcy Court),-the Plan shall be null and void in all respects, and nothing ~
contained in the Plan or the Disclosure Statement shall: (1) constitute a waiver or release of any
claims by the Debtors, any holders of Claims or Interests (including the Consenting Creditors
and the ABL Parties), or any other Entity; (2) prejudice in any manner the rights of the Debtors,
any holders of Claims or Interests (including the Consenting Creditors and the ABL Parties), or
any other Entity; or (3) constitute an admission, acknowledgment, offer, or undertaking by the

Debtors, any holders of Claims or Interests (including the Consenting Creditors and the ABL

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Parties), or any other Entity, in any respect. For the avoidance of doubt, except as provided in
the Restructuring Support Agreement, nothing in the Plan shall be construed as requiring
termination or avoidance of the Restructuring Support Agreement upon non-occurrence of the
Effective Date (subject, in all respects, to any consent, termination, or other rights of the
Consenting Creditors under the Restructuring Support Agreement) or as otherwise preventing the
Restructuring Support Agreement from being effective in accordance with its terms.

59. References to Plan Provisions. References to Articles of the Plan are inserted
for convenience of reference only and are not intended to be a part of or to affect the
interpretation of the Plan except as specifically provided herein. The failure to specifically
include or to refer to any particular article, section, or provision of the Plan or any related
document in this Confirmation Order shall not diminish or impair the effectiveness of such
article, section, or provision, it being the intent of the Bankruptcy Court that the Plan and any
related documents be confirmed in their entirety.

. Oe "Headings. Headings utilized herein are for: “eonvenience and reference only, and :
shall not constitute a part of the Plan or this Confirmation Order for any other purpose. |

61, Effect of Conflict between Plan and Confirmation Order. If there is any
inconsistency between the terms of the Plan or the Plan Supplement and the terms of this
Confirmation Order, the terms of this Confirmation Order shall govern and control. |

62. No Stay of Confirmation. The requirements under Bankruptcy Rule 3020(e) that
an order confirming a plan is stayed until the expiration of 14 days after entry of the order are
hereby waived. This Confirmation Order shall take effect immediately and shall not be stayed

pursuant to Bankruptcy Rules 3020(e), 6004(g), 6006(d), 7062, or otherwise.

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63. No Waiver. The failure to specifically include any particular provision of the
Plan in this Confirmation Order will not diminish the effectiveness of such provision nor
constitute a waiver thereof, it being the intent of the Court that the Plan is confirmed in its
entirety and incorporated herein by this reference.

64. Sports Molding Inc. d/b/a SMI Molding Inc. Notwithstanding anything to the
contrary in the Disclosure Statement, the Plan, this Confirmation Order, any amendment or
supplement to any of the foregoing items, or in any document executed or delivered pursuant to
or related to the Plan or this Confirmation Order including, without limitation, any Plan
Supplement, exhibit, or trust agreement, all defenses of Sports Molding, Inc. (d/b/a SMI
Molding, Inc.) to any Cause of Action asserted by a Released Party are hereby preserved and are
not released, discharged, enjoined or exculpated.

65. Special Provision Governing Unimpaired Claims. Except as otherwise
provided in the Plan, nothing under the Plan shall affect (i) the Debtors’ rights and defenses in

respect of any. ‘Unimpaired Claims, including, al rights i in respect of legal and equitable defenses
to, or setoffs or recoupment against, any such Unimpaired Claims or (ii) the rights and defenses
of any holder of Unimpaired Claims in respect of its Unimpaired Claims. Any disputes between
the Debtors or the Reorganized Debtors, on the one hand, and the holder of an Unimpaired
Claim, on the other hand, shall be adjudicated in the ordinary course of dealing between such
parties (including, if necessary, in a court of competent jurisdiction other than the Bankruptcy
Court), subject to the rights of such parties as set forth in Article V.O.1 of the Plan to have such

disputes adjudicated in the Bankruptcy Court.

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66. Final Order. This Confirmation Order is a Final Order.

Wilmingtpn, Delaware Neca Hino
D STATESBA °CY JUDGE

 

Dated:

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